                       UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF NORTH CAROLINA


         United States of America
                             Plaintiff(s)                                  EXHIBIT AND WITNESS LIST
                    v.
         Daquan Marquel Garner                                           Case Number: 1:18cr283-1
                           Defendant(s)

Presiding Judge                             Plaintiff's Attorney                    Defendant's Attorney
Judge Webster                               John Alsup, AUSA                        Tiffany Jefferson, AFPD
Hearing Date:                               Court Reporter                          Courtroom Deputy
8/27/2018                                   Proceedings Recorded                    Donita M. Kemp
                      DATE
PLF. NO. DEF. NO.    OFFERED    MARKED        ADMITTED                  DESCRIPTION OF EXHIBITS AND WITNESSES
   X                8/27/2018                                  Detective, Clayton Coward (witness)
                X   8/27/2018                                  Kitten Alston (witness)




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